         Executive Grant of Clemency
TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

        AFTER CONSIDERING THE APPLICATIONS for executive clemency of the
following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on February 3, 2017, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Benjy Neil Allums                            Reg. No. 06080-017
       Anthony Anderson                             Reg. No. 30278-160
       Randy Boler                                  Reg. No. 10835-067
       Angel Cardona                                Reg. No. 38540-060
       Arthur Clinkscale                            Reg. No. 54041-060
       Eladio Cruz                                  Reg. No. 23970-050
       Virgil Leon Darville                         Reg. No. 73221-004
       Leroy Fondren, Jr.                           Reg. No. 02707-025
       Leticia Garcia                               Reg. No. 12568-179
       Alvin Green                                  Reg. No. 30411-013
       Lancell Maurice Harris                       Reg. No. 19622-009
       Dontae Lamont Hunt                           Reg. No. 67611-065
       Arthur Jarrod Jackson                        Reg. No. 24173-077
       Jesse Jackson, Jr.                           Reg. No. 29142-077
       Rodrickus Antonio Jamison                    Reg. No. 06290-084
       Cesar R. Jara                                Reg. No. 16763-424
       Victor Matias, Jr.                           Reg. No. 04680-090
       Lamont Alvin McElveen                        Reg. No. 99987-071
       Jerry Pirtle                                 Reg. No. 15441-026
       John Purcell                                 Reg. No. 39851-066
       Bart Ellis Shoupe                            Reg. No. 44194-080
       Alan Jerome Spears                           Reg. No. 38195-060
       Ausby Stowers                                Reg. No. 10054-041
       Henry Lee White                              Reg. No. 23153-018



        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 120 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Brandon J. Lewis                             Reg. No. 15762-026
       Manuel Viera                                 Reg. No. 46598-004


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 168 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:


       Dameon Russell                               Reg. No. 25936-039
       Lamarcus Walthugh Stilling                   Reg. No. 50366-018




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        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 188 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:


       Martavious Devonn Anderson                   Reg. No. 24104-057
       Desmond Belle                                Reg. No. 15233-171
       Jerald McCullough                            Reg. No. 43443-037
       Tesmone Darin Paschal                        Reg. No. 31448-074
       Christopher Alan Simmons                     Reg. No. 15127-026




        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 240 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:


       Gary Brown                                   Reg. No. 04698-036
       Julio Figueroa                               Reg. No. 48186-066
       Lincoln Cardell Henderson                    Reg. No. 16553-045
       Rodger Lee Moran                             Reg. No. 09325-030
       Krishna Mote                                 Reg. No. 68377-067
       Ronald Pirtle                                Reg. No. 61872-053
       Chris Robinson                               Reg. No. 41438-074




        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 262 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:


       Philander Butler                             Reg. No. 16665-076
       Todd Fitzgerald Frazier                      Reg. No. 33990-018
       Ricky Gene Minor                             Reg. No. 05037-017




        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 300 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:


       Andre Lefell Reese                           Reg. No. 31178-077
       Kenny Siepker                                Reg. No. 08599-029
       Charles M. Woolsey                           Reg. No. 07858-028




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        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 360 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:


       Aaron Keith Covington                         Reg. No. 51193-083
       Lavelle Henderson                             Reg. No. 04879-031
       Willi J. Hill                                 Reg. No. 04561-028
       Joseph Mike                                   Reg. No. 11005-058
       Ronald Lee Razz                               Reg. No. 75088-004
       Eduardo Rodriguez-Velez                       Reg. No. 21791-069
       Frank Lavelle Sharpe                          Reg. No. 10914-017
       Charles E. Stokes                             Reg. No. 40962-004




        I hereby further commute the total sentence of imprisonment imposed upon Norwood
Wallace Barber, Jr., Reg. No. 11041-084, to a term of 240 months' imprisonment. I also
remit any unpaid balance of the $2,500 fine imposed by the court on the said Norwood Wallace
Barber, Jr., Reg. No. 11041-084, that may remain at the expiration of his term of incarceration.
I leave intact and in effect the 10-year term of supervised release imposed by the court with all
its conditions and all other components of the sentence.



       I hereby further commute the total sentence of imprisonment imposed upon Shawn Leo
Barth, Reg. No. 08470-059, to a term of 322 months' imprisonment. I leave intact and in effect
the 10-year term of supervised release with all its conditions and all other components of the
sentence.



        I hereby further commute the total sentence of imprisonment imposed upon Christopher
Steven Bowen, Reg. No. 21477-057, to a term of 262 months' imprisonment. I also remit any
unpaid balance of the $6,000 fine imposed by the court on the said Christopher Steve Bowen,
Reg. No. 21477-057, that may remain at the expiration of his term of incarceration. I leave intact
and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.



       I hereby further commute the total sentence of imprisonment imposed upon Martin
Leroy Dwyer, Reg. No. 15503-171, to expire on May 4, 2017, leaving intact and in effect the
five-year term of supervised release imposed by the court with all its conditions and all other
components of the sentence.



        I hereby further commute the total sentence of imprisonment imposed upon Roosevelt
Hamlin, Reg. No. 15773-026, to a term of 236 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.




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        I hereby further commute the total sentence of imprisonment imposed upon Mark Louis
Katzin, Sr., Reg. No. 54467-066, to expire on May 1, 2017. I leave intact and in effect the 10-
year term of supervised release with all its conditions and all other components of the sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Jefferson
Levine, Reg. No. 55586-004, to a term of 327 months' imprisonment, leaving intact and in
effect the five-year term of supervised release with all its conditions and all other components of
the sentence.


       I hereby further commute the total sentence of imprisonment imposed upon David
Fitzgerald Lightner, Reg. No. 10586-058, to expire on October 6, 2017. I also remit the unpaid
balance, if any, of the $25,000 fine imposed upon the said David Fitzgerald Lightner, Reg. No.
10586-058. I direct the Bureau of Prisons to place the said David Fitzgerald Lightner, Reg.
No. 10586-058, on one year of pre-release custody.


       I hereby further commute the total sentence of imprisonment imposed upon Robert Lee
Nickens, Reg. No. 10738-084, to expire on November 5, 2016, leaving intact and in effect the
seven-year term of supervised release imposed by the court with all its conditions and all other
components of the sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Karl Eugene
Peacock, Reg. No. 12346-035, to a term of 217 months' imprisonment, leaving intact and in
effect the five-year term of supervised release with all its conditions and all other components of
the sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Raul Perez,
aka Franky Allen, Reg. No. 38560-018, to a term of 292 months' imprisonment, leaving intact
and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Russell
Charles Seidel, Reg. No. 10717-059, to a term of 180 months' imprisonment, leaving intact
and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.


        I hereby further commute the total sentence of imprisonment imposed upon James A.
Stone, Reg. No. 07456-032, to a term of 262 months' imprisonment, leaving intact and in
effect all other components of the sentence. I also direct the Bureau of Prisons to place the said
James A. Stone, Reg. No. 07456-032, on pre-release custody during the final year of his
incarceration.




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        I hereby further commute the total sentence of imprisonment imposed upon Lawrence
Kemp Tennille, Reg. No. 22137-039, to a term of 360 months' imprisonment, leaving intact
and in effect all other components of the sentence. I also direct the Bureau of Prisons to place the
said Lawrence Kemp Tennille, Reg. No. 22137-039, on pre-release custody during the final
year of his incarceration.


        I hereby further commute the total sentence of imprisonment imposed upon Wilfredo
Vasquez, Reg. No. 17042-054, to a term of 240 months' imprisonment, leaving intact and in
effect all other components of the sentence. I also direct the Bureau of Prisons to place the said
Wilfredo Vasquez, Reg. No. 17042-054, on pre-release custody during the final year of his
incarceration.




        I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                      Done at the City of Washington this Sixth
                                                      day of October in the year of our Lord
                                                      Two thousand and sixteen and of the
                                                      Independence of the United States the
                                                      two hundred and forty-first.




                                                         BARACK OBAMA
                                                            President




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